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           EXHIBIT A
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                                 Detailed Curriculum Vitae

1   Personal Information
       Name                Ricardo Baeza-Yates
       E-mail              rbaeza@acm.org
       Personal website    http://www.baeza.cl/


2   Current Activities
    • Director of Research at the Institute for Experiential AI, Northeastern University, Silicon Valley, USA,
      since 2021.

    • Consultant for startups, companies, and venture capital in Brazil, Chile, Mexico, Spain, and USA; as
      well as for international organizations like United Nations and IADB (BID).

    • Member of Global Partnership of AI (Responsible AI Working Group), ACM’s Policy Technology
      Committee, IEEE’s AI & Automated Systems Policy Committee, IABD’s Advisory Committee for
      fAIr LAC (Fair AI in Latin America and the Caribbean), and Catalonia’s AI Observatory Advisory
      Board.

    • Full Professor (part-time) at the Dept. of Engineering, Universitat Pompeu Fabra, Barcelona, Catalo-
      nia, Spain, since 2004.

    • Full Professor (part-time) at the Dept. of Computing Sciences, Universidad de Chile, Santiago, Chile,
      since 1989.

    • Corresponding member of the Brazilian Academy of Sciences since 2019.

    • Founding member of the Chilean Academy of Engineering since 2010.

    • Member of the Chilean Academy of Sciences since 2023 (corresponding member 2002-2022).

    • Member of the advisory board of the National Portuguese Research Lab in CS, INESC, since 2012.

    • Member of the advisory board of the CSE Department of UC Riverside as well as the Department of
      Informatics Engineering, University of Porto, Portugal, since 2020.

    • Member of the Advisory Board of the Professional Association of Computing Professionals of Cat-
      alonia since 2009.


3   Highlights
    • World class expert in responsible AI, search, data mining and data science in general.

    • Research innovator and team builder with leadership and multitasking skills.


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    • Member of Spain’s Advisory Council of AI from July 2020 to March 2023.

    • Lead co-author with Jeanna Matthews of the ACM Statement on Responsible Algorithmic Systems,
      Oct 2022.

    • VP of Research for Yahoo Labs (2006-2016) with experience as research manager and technical lead
      in applied projects on web search, usage data mining and web advertising (sponsored search and
      native).

    • Co-author of the most used and cited textbook on search concepts and technology: Modern Informa-
      tion Retrieval (two editions and translated to Japanese, Korean, and Portuguese).

    • ACM (less than 1% of the members) and IEEE Fellow.


4   Studies
    • Ph.D. in Computer Science, University of Waterloo, Ontario, Canada, May 1989. Supervised by
      Gaston Gonnet, and working in the New Oxford English Dictionary Project.

    • M.Eng. in Electrical Engineering (Digital Systems and Automatic Control), Univ. de Chile, 1986.

    • M.Sc. in Computer Science, Universidad de Chile, 1985.

    • Electrical Engineer, specialization in Digital Systems, Universidad de Chile, 1985.

    • Bachelor in Computer Science, Universidad de Chile, 1983.


5   Awards, Distinctions, Fellowships and Scholarships
    • Named Corresponding Member of the Brazilian Academy of Sciences, 2019.

    • Award Salvà i Campillo to the Person of the Year, Catalan Association of Telecommunications Engi-
      neers with the cooperation of the Association of Computing Engineers of Catalonia, 2019.

    • National Research Award for applied research and technology transfer, Scientific Computing Societies
      of Spain & BBVA Foundation, Spain, 2018.

    • Best paper award at Techpulse 2014, the main annual technical event of Yahoo. This award was
      obtained with Di Jiang, Fabrizio Silvestri and Beverly Harrison for a new algorithm that using deep
      learning allows to predict the next mobile app that a person will use with more than 90% accuracy.

    • Computer World Spain Award to Yahoo Labs Barcelona for contributions to big data in 2014.

    • Master inventor award, Yahoo, 2012.

    • 2012 ASIS&T Best Information Science Book Award for the second edition of Modern Information
      Retrieval (see books).


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• Named IEEE Fellow for contributions to the development of computer science, 2011.

• National Award of the Chilean Association of Engineers, 2010.

• Founding member of the Chilean Academy of Engineering, 2010.

• Named ACM Fellow for contributions to information retrieval algorithms and techniques, 2009.

• CLEI Distinction to Achievements in Informatics, given by the Latin American association of CS
  departments to people that has contributed to the development of CS in the region, 2009.

• J. W. Graham Medal in Computing & Innovation given to distinguished alumni of the University of
  Waterloo, Canada, 2007.

• Erskine Fellowship from the University of Canterbury, New Zealand, 2004.

• Chilean Fulbright Commission Fellowship in Information Technology, 2003.

• Manuel Montt award to “Modern Information Retrieval” (co-authored with Berthier Ribeiro-Neto) as
  the best technical book published by Chilean authors during 1997-2001 (shared with Tomás Moulian’s
  essay “Current Chile: Anatomy of a Myth”), 2002.

• Named corresponding member of the Chilean Academy of Sciences, 2002.

• Recognition from Informatics Magazine (IDG Chile) for the Development of IT in Chile, 2001.

• COMPAQ Award to the best Brazilian research article in CS published in 1996 (with Eduardo Barbosa
  and Nivio Ziviani), 1997.

• Fellowship from the Education and Science Ministry of Spain to have a sabbatical year at the Poly-
  technic Univ. of Catalunya, 1996.

• Award “Ramón Salas Edwards” of the Institute of Engineers of Chile to the best research on engineer-
  ing on the last 4 years in 1994.

• Recipient of a United States Information Service Important Visitor program, June 1994.

• Award of the Organization of American States (OAS) for young researchers in Exact Sciences, 1993.

• Award from PC Software magazine to the best Chilean software, SearchCity, designed together with
  Pablo Palma in 1992. This software for Windows 3.1 was similar to Google Desktop but was too
  ahead in time to succeed.

• Special mention, University of Chile Award for Young Researchers, 1992.

• Award “Marcos Orrego Puelma” of the Institute of Engineers of Chile to the best engineering student
  graduated in Chile during 1985.

• Ontario Graduate Scholarship, May 1988-April 1989.



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    • Institute for Computer Research scholarship for graduate studies, University of Waterloo, May 1986-
      August 1988.
    • University of Waterloo graduate scholarship, January 1987-April 1988, and January 1988-April 1988.
    • Department of Computer Science Fellowship (Univ. of Waterloo), September 1988-March 1989.
    • Information Technology and Research Centre graduate scholarship (Canada), January 1989-April
      1989.


6   Professional and Entrepreneurship Experience
    • CEO of NTENT Hispania, a R&D subsidiary of NTENT USA, Barcelona, Spain (April 2017 - De-
      cember 2020).
    • CTO of NTENT, a semantic search technology company, Carlsbad, USA (June 2016 - June 2020).
    • Chief Research Scientist of Yahoo Labs from October 2015 to February 2016 in Sunnyvale, USA.
    • VP of Research at Yahoo Inc. from August 2014 to February 2016 in Sunnyvale, USA.
    • VP of Research for EMEA and Latin America at Yahoo Inc. from January 2006 to September 2015,
      where I started and lead the labs in Europe (Barcelona, Spain) and Latin America (Santiago, Chile).
    • Member of the Scientific Advisory board of EURECAT, Barcelona (2015-2017).
    • Member of the Executive Board of Barcelona Media Foundation (2010-2015).
    • Member of the board of directors of Yahoo Hungary (2009-2016) and Yahoo Israel (2009-2012).
    • Supervised Yahoo Labs London from its inception in 2012 and until 2015.
    • Supervised Yahoo Labs Haifa from its inception in 2008 and until 2012.
    • Co-founder of Raditech in 2001, a Spanish company that offered vertical search as a service, partic-
      ularly Buscopio, a Spanish web search engine. The company was sold to Fonetic, another Spanish
      company, in 2007.
    • Founder and CEO of TodoCL, a web search engine that covered Chilean websites from 2000 to 2015.
      It had more than 100 thousand indexed websites and millions of queries per month.
    • Member of the consulting committee for the design and evaluation of the new identity card and pass-
      port for the National Chilean Civil Registry from 1995 to 2005. In particular I was in charge of
      evaluating the AFIS (Automated Fingerprint Identification System) system for identity verification.
    • International consultant for the United Nations (PNUD) for a governmental system in Perú, 1998.
    • Consultant for the International Organization for Migrations, United Nations, for the analysis of the
      information systems of the Chilean Congress, 1990.
    • Consultant for many companies in Chile, including IBM, Langton-Clarke, Sonda, etc., 1990-1992.

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7   Academic Experience
    • Director for Graduate Programs in Data Science (half-time), Northeastern University at Silicon Valley,
      USA (2018-2020).

    • ICREA Research Professor, Dept. of Information and Communication Technologies, Universitat
      Pompeu Fabra, Barcelona, Spain, Dec 2004-Dec 2005. Part-time Professor since 2006.

    • Faculty member at the Department of Computer Science, University of Chile, Santiago, Chile, 1985-
      2005 (Professor since April 1995). Part-time Professor since 2006.

    • Adjunct Professor, Dept. of Computer Science, University of Waterloo, Canada, June 2016-today.

    • Founder and first director of the Center for Web Research (www.cwr.cl), 2002-2005.

    • Chair of the CS Dept. (Univ. of Chile) from June 1993 to September 1995, and also from November
      2002 to November 2004.

    • Founder and director of the post-graduate program on Software Projects Management, 1998-2004.

    • Visiting Professor (sabbatical) at the CS Dept., Canterbury University, New Zealand (February-March,
      2004).

    • Visiting Professor (sabbatical) at the CS Dept., Univ. of Sydney, Australia (January 2004).

    • Visiting Professor (sabbatical) at the CS & SE Dept., Univ. of Melbourne, Australia, (November-
      December, 2003).

    • Visiting Professor at the CS Dept., Stanford University, July 2003.

    • Visiting Professor at the Technology Dept., Pompeu Fabra University (February 2000, 2001, 2002
      and 2003).

    • Visiting Professor (sabbatical) at the LSI Dept., Polytechnic Univ. of Catalunya, Barcelona, Apr to
      Dec 1996.

    • Visiting Professor (sabbatical) at the Mathematics Research Center (CRM), Barcelona, Jan to Mar
      1996.

    • Coordinator for the Univ. of Chile of a M.Sc. program at Univ. Mayor de San Simón, Cochabamba,
      Bolivia, jointly given with Utrecht University (Netherlands) and Catholic University of Chile, 1996-
      1999.

    • Member of the Post-graduate Engineering Committee of the University of Chile, 1991-1995.

    • Member of the Exact and Earth Sciences Research Committee of the University of Chile, 1992-2000.

    • Coordinator for the M.Sc. program in Computer Science, University of Chile, 1990-1991.

    • Postdoctoral fellowship at the University of Waterloo from May to September of 1989.

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    • Lecturer at the Universidad de Chile from 1984 to 1986.

    • Part time lecturer at the Pontificia Universidad Católica de Chile in 1985.

    • Part time lecturer at the Universidad de Santiago from 1984 to 1985.

    • Research assistant at the Computer Science Department of University of Waterloo (1986-89), and
      Universidad de Chile (1982-83).

    • Research assistant at the Department of Electrical Engineering of Universidad de Chile in 1982.

    • Teaching assistant of several courses at the Computer Science Department of University of Waterloo
      (1986-89) and Universidad de Chile (1981-83).


8   Service Experience
    • Corresponding member of the Brazilian Academy of Sciences since May 2019.

    • Member of the editorial committee of ACM Books since 2013.

    • Founding member of the Chilean Academy of Engineering since 2010.

    • Corresponding member of the Chilean Academy of Sciences since December 2002.

    • Advisory board member for the National Portuguese Research Lab in CS, INESC Lisbon, since 2012.

    • Member of the ACM Council, USA, from July 2012 to June 2016.

    • Member of the advisory board of ISI Foundation, Torino, Italy, since 2014.

    • Member of the Advisory Board of the Professional Association of Computing Professionals of Cat-
      alonia (COEINF) since 2009.

    • Member of the ACM European Council from 2010 to 2014.

    • Member of the Publications Board of the ACM, USA, from 2007 to 2009.

    • Member of the ACM SIGMOD Doctoral Dissertation Award committee from 2006 to 2007.

    • Member of the governmental committee for the Chilean Digital Agenda from 1998 to 2005.

    • Chilean site director of the regional ACM Programming Contest and member of the South American
      steering committee, 1998-2005.

    • Chilean representative in the European Molecular Biology Network (EMBNET), 2000-2005.

    • Member of the Board of Governors of the IEEE Computer Society, USA, from 2002 to 2004.

    • President of CLEI (Latin American Center of Studies in Informatics, a Latin American association
      that gathers more than 60 computer science departments in 14 countries) from 2000-2004.


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    • International Coordinator of the Ibero-American cooperation program in science and technology
      (CYTED) in the areas of Applied Electronics and Informatics, 2000-2004.

    • Member of the board of the European Association for Theoretical Computer Science (EATCS), 2001-
      2003.

    • President of the Chilean Computer Science Society (SCCC) from October 1992 to November 1995
      and from December 1996 to November 1998. Board member from December 1995 to November
      1996 and from November 1998 to November 2002.

    • Member of the evaluation committee for FONDEF (technology transfer program), National Research
      Council for Science and Technology, Chile, 1991-1995 and 2001-2002.

    • Member of the evaluation committee for FONDECYT (basic research program), National Research
      Council for Science and Technology, Chile, 1999-2000.

    • President of the Chilean IEEE Computer Society chapter, 1998-2000.

    • Coordinator of the Algorithms and Data Structures group of the Ibero-American Network on Software
      Technology (RITOS), 1992-1997.

    • Coordinator of UNESCO courses in Informatics in Bolivia, Perú, Ecuador, Panamá, Paraguay and
      Chile, 1995-97.

    • Coordinator for an IFIP project to support electronic networks in Bolivia and Peru, 1993-94.


9    Patents
    1. Ricardo Baeza-Yates and Barbara Poblete. User Query Data Mining and Related Techniques, Yahoo!
       Inc. and Univ. of Chile, September 2006. USA Patent #7,617,208, granted Nov 10, 2009.

    2. Ricardo Baeza-Yates. Techniques for Searching Future Events, Yahoo! Inc. and Univ. of Chile,
       August 2006. USA Patent #7,668,813, granted Feb 23, 2010.

    3. Luciano Barbosa, Flavio Junqueira, Vassilis Plachouras, Ricardo Baeza-Yates. Method and System
       for Quantifying the Quality of Search Results based on Cohesion, Yahoo! Inc., December 2007. USA
       patent #7,720,870, granted May 18, 2010.

    4. Ricardo Baeza-Yates, Aristides Gionis, Flavio Junqueira and Vassilis Plachouras. System and Method
       for Caching Posting Lists, Yahoo! Inc., October 2007. USA Patent #7,890,488, granted Feb 5, 2011.

    5. Ricardo Baeza-Yates, Alessandro Tiberi. Extracting Semantic Relations from Query Logs, Yahoo!
       Inc., December 2007. USA Patent #7,895,235, granted Feb 22, 2011.

    6. Ricardo Baeza-Yates, Aristidis Gionis, Flavio Junqueira, Vassilis Plachouras and Luca Telloli. System
       and Methodology for a Multi-Site Search Engine, Yahoo! Inc., October 2008. USA patent #8,095,545,
       granted January 10, 2012.


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   7. Barbara Poblete, Ricardo Baeza-Yates. Classifying Documents using Implicit Feedback and Query
      Patterns, Yahoo! Inc., July 2008. USA patent # 8,645,369, granted February 4, 2014.

   8. Barbara Poblete, Ricardo Baeza-Yates. Methods for Web Site Analysis, Yahoo! Inc., April 2010.
      USA patent #8,751,632, granted June 10, 2014.

   9. Fabrizio Silvestri, Ricardo Baeza-Yates, Beverly Harrison, Di Jiang. Predicting the Next Application
      that You are going to Use on Aviate, Yahoo! Inc., December 2014. USA Patent 9971972B2, granted
      May 15, 2018.

 10. Lizi Zhang, Hongbo Deng, Amit Goyal, Yi Chang, Ricardo Baeza-Yates. Computerized System and
     Method for Search Query Auto-completion, Yahoo! Inc, September 2015. USA Patent #10049149B2,
     granted August 14, 2018.

 11. Manjana Chandrasekharan, Keiko Horiguchi, Amanda Stent, Ricardo Baeza-Yates, Jeffrey Kuwano,
     Achint Thomas, Yi Chang. Audio Verification, Yahoo! Inc., September 2015. USA Patent #10277581B2,
     granted April 30, 2019.

 12. Ricardo Baeza-Yates, Berkant Barla Cambazoglu, Darshan M. Shankaralingappa, Matteo Catena.
     Pipeline for Document Scoring, NTENT, September 2019. USA Patent #11436235, granted Septiem-
     ber 6, 2022.


10     Research Projects
At Yahoo Labs I was involved in many internal applied research projects in several areas, including web
search, computational advertising (sponsored search and native), web usage data mining, and social media
analytics. They included many aspects, in particular efficiency and scalability.
    I have coordinated or participated in EU Research Projects, Ibero-American Research Projects and Na-
tional Spanish and Chilean Research Projects.
    The following are publicly funded research projects:

     • Table-as-Query: Unifying Data Discovery and Alignment. NSF Medium Grant IIS-1956096. PIs:
       Reneé Miller, Mirek Riedewald, Wolfgang Gatterbauer. Key senior researcher, 7/2020-6/2023.

     • Privacy Alerts: Would be possible to empower online social network users with tools such that they
       control the privacy of their data?, Ministry of Science and Innovation, Spain, 2015 (TIN2013-49814-
       EXP). Project co-leader.

     • Understanding Social Media: An Integrated Data Mining Approach, Ministry of Science and Innova-
       tion, Spain, 2013-2015 (TIN2012-38741). Project Leader.

     • Social Media CENIT Project. Industrial research project involving several companies coordinated by
       Yahoo! Spain, Ministry of Industry, Spain, 2010-13. Project leader.

     • HIPERGRAPH: High Performance processing of large data represented as Graphs. Ministry of
       Science and Innovation, Spain, 2009-2013 (TIN2009-14560-C03-01). Coordinated project between
       Pompeu Fabra Univ., Polytechnic Univ. of Catalonia and Univ. of A Coruña. Project leader.

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• SEMEDIA (Search Environments for Media), STREP project of the VI Research Framework of the
  European Union, 2007-2009. Project leader.

• WEBMIN: A Platform for Web Mining, Ministry of Education and Science, Spain, 2006-2008.
  Project leader.

• Web Mining Research Group, Universitat Pompeu Fabra, AGAUR (Catalonia Government), 2006-
  2008. Project leader.

• A modular and extensible platform for Web mining, Ministry of Education and Science, Spain, 2005-
  2006. Project Leader.

• Functional Genomics in Nectarines, Chilean Genomics Program, 2004-2006. Project leader: Ariel
  Orellana. I was in charge of creating and leading the first two years of the bioinformatics group of the
  project.

• Center for Web Research (www.cwr.cl), Millennium Nucleus, Mideplan, Chile, 2002-2005. Project
  leader. This was the first large grant awarded to computer science in Chile.

• Intelligent Multimedia Information Retrieval in the Net, ALFA Project (EU-Latinamerican Coopera-
  tion), 2004-2005. Project co-leader with Vicente López.

• Web Mining, CONICYT (Chilean National Science Funding), 2002-2003. Project leader.

• Pattern Matching and Applications. Project ECOS-CONICYT with Univ. Marne-la-Vallee, Paris,
  France, 2000-2002. Project co-leader with Maxime Crochemore.

• Design and Analysis of Sequential and Parallel Algorithms with Applications, CONICYT (Chilean
  National Science Funding), 1999-2001. Project leader.

• Exchange of Postgraduates in Parallel and Distributed Processing (PARNET), ALFA Project (EU-
  Latinamerican Cooperation), 1999-2003. Project leader: Claude Giralt. This project involved six
  countries and I was the leader of the Chilean counterpart.

• Environment for Manipulation and Retrieval of Information in WWW (AMYRI), CYTED (Iberoamer-
  ican countries), 1997-1999. Project leader.

• Infocommunication in Broadband Networks, FONDEF (Chilean fund for technology transfer), 1997-
  1999 (Project leader: Eduardo Vera). This was part of the AccessNova program between NTT Japan
  and the University of Chile which started in 1995.

• Parallelism and search. Cooperation project Chile-Catalunya with Polytechnic Univ. of Catalunya,
  Barcelona, 1997. Project co-leader with Joaquim Gabarró.

• Applications on Broadband Networks. Project ECOS-CONICYT with Univ. Joseph Fourier, Greno-
  ble, 1996-98. Project co-leader with Jacques Lamordant.

• Data Structures: Design, Analysis and Applications, CONICYT (Chilean National Science Funding),
  1995-98. Project leader.

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     • Collaborative Systems: User Interfaces, CONICYT (Chilean National Science Funding), 1994-99.
       Co-researcher (Project leader: José Pino).

     • Textual Databases: Algorithms, Interfaces and Applications, CONICYT (Chilean National Science
       Funding), 1993-94. Project leader.

     • Visualization Tecniques for Software Design, Fifth Centennial (Spain), 1993-95. Project co-leader
       with Gonzalo León, Polytechnic Univ. of Madrid.

     • Algorithms for Text Processing, Fundación Andes, Chile-Brazil cooperation program (with Univ. of
       Campinas and Univ. Fed. of Minas Gerais), 1993-94. Project leader.

     • Collaborative Systems, CONICYT (Chilean National Science Funding), 1992-1993. Co-researcher
       (Project leader: José Pino).

     • Program Visualization, CONICYT (Chilean National Science Funding), 1991-1992. Project leader.

     • Evaluation of Graphical User Interface Toolkits, DTI (University of Chile Funding), 1991-1992.
       Project leader.

     • Integrated Software with Graphical Interfaces for Text Processing, Fundación Andes C-11001, 1990-
       1992. Project leader.

     • New Oxford English Dictionary Project, University of Waterloo, 1987-1989. Research Assistant
       (Project leaders: Gaston Gonnet & Frank Tompa).

     • Design and Analysis of Data Structures for Dictionary Implementation, Chilean National Science
       Funding 1153/85, 1985-86. Research Assistant (Project leader: Patricio Poblete).

     • Data Structures for Storing and Retrieving Information, University of Chile, E 1949-8522, 1985.
       Research Assistant (Project leader: Patricio Poblete).


11     Citations
According to Google Scholar there are more than 53,300 citations to more than 600 publications found
(December 2022), with an h-index of 89. Citations below are mainly from this source (see my personal
entry). I am the most cited in algorithms and data structures, 2nd most cited in web search, the 4th most
cited in web mining, and 12th most cited in information retrieval.
    In December 2022, the ACM Digital Library had more than 8,700 citations to more than 320 publica-
tions, with more than 9,100 downloads in the previous 12 months and 112,000 overall.
    In May 2012, CiteSeerX found more than 5,380 independent citations and ranked me the 528th most
cited author in CS from a universe of more than 800 thousand authors (since then has not been updated). In
their statistics my information retrieval book is the third most cited work of 1999 and the 86th most cited
overall (2015).
    On March 2020, Microsoft Academic Search had 487 of my publications with almost 44,000 citations.
I appear in 16th place in information retrieval and 42nd place in web related research.


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12     Publication Record
Papers with at least 100 citations in Google Scholar and 1,000 downloads in the ACM Digital Library are
highlighted. Note that short papers, most posters and papers in regional and national conferences have been
omitted.

12.1   Books
[1] O. Alonso and R. Baeza-Yates (editors). Information Retrieval: Advanced Topics and Techniques.
    ACM Press, to appear.

[2] B.B. Cambazoglu and R. Baeza-Yates. Scalability Challenges in Web Search Engines, in Synthe-
    sis Lectures on Information Concepts, Retrieval, and Services (Gary Marchionini, editor). Morgan &
    Claypool Publishers, USA, 122 pages, 2015.

[3] R. Baeza-Yates and B. Ribeiro-Neto. Modern Information Retrieval: the concepts and technology
    behind search, second edition. Addison-Wesley, UK, 913 pages, 2011. This edition won the 2012
    ASIS&T Book of the Year award and has been already translated to Chinese (2012, 672 pages) and the
    10 main chapters to Portuguese (2013, 614 pages). Part of the book is available at mir2ed.org. The first
    edition was published by ACM Press/Addison-Wesley, UK, 513 pages, in 1999, and was translated to
    Chinese and Korean and printed in special editions for China and India. According to CiteseerX in 2015
    this is the third most cited CS work published in 1999 and the 86th overall. More than 22,000 citations.

[4] G.H. Gonnet and R. Baeza-Yates. Handbook of Algorithms and Data Structures - In Pascal and C.
    Addison-Wesley, Wokingham, UK, 424 pages, 1991. (second edition). Source code is available in my
    personal WWW page. More than 980 citations.

[5] M. Melucci and R. Baeza-Yates, editors. Advanced Information Retrieval, Springer, Berlin, 2011. Based
    in the European IR summer school organized in Padova, 2009.

[6] I. King and R. Baeza-Yates, editors. Weaving Services and People on the World Wide Web, Springer,
    Berlin, 2009. Selection of papers presented at the Workshop Track of the 17th International World Wide
    Web Conference (WWW 2008) held at Beijing, China, 2008.

[7] R. Baeza-Yates, J. Glaz, H. Gzyl, J. Hüsler, and J.L. Palacios, editors. Applied Probability: Recent
    Advances, Kluwer Academic Publishers, 2004.

[8] R. Peña, R. Baeza-Yates and J.V. Rodriguez Muñoz, Digital management of information: from bits
    to digital libraries and the Web (In Spanish: Gestión digital de la Información: de bits a bibliotecas
    digitales y la Web), ISBN: 84-7897-514-4. Ra-Ma, Spain, 2002.

[9] W. Frakes and R. Baeza-Yates, editors. Information Retrieval: Data Structures and Algorithms.
    Prentice-Hall, Englewood Cliffs, NJ, USA, 504 pages, 1992. Source code is available in my personal
    WWW page. More than 3,900 citations.




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12.2   Editor of Proceedings
[1] Marc Spaniol, Ricardo Baeza-Yates, Omar Alonso. Proc. of the 13th Temporal Web Analytics Workshop
    (TempWeb). TheWebConf 2023 (WWW Companion Volume), Austin, USA, May 2023.

[2] Omar Alonso, Ricardo Baeza-Yates, Tracy Holloway King, Gianmaria Silvello. Proceedings of the
    Third International Conference on Design of Experimental Search & Information REtrieval Systems,
    CEUR Workshop Proceedings 3480, San Jose, USA, August 30-31, 2022.

[3] Marc Spaniol, Ricardo Baeza-Yates, Omar Alonso. Proc. of the 12th Temporal Web Analytics Workshop
    (TempWeb). TheWebConf 2022 (WWW Companion Volume), Lyon, France, Apr 2022.

[4] Marc Spaniol, Ricardo Baeza-Yates, Omar Alonso. Proc. of the 11th Temporal Web Analytics Workshop
    (TempWeb). TheWebConf 2021 (WWW Companion Volume), Ljubljana, Slovenia, Apr 2021.

[5] Marc Spaniol, Ricardo Baeza-Yates, Julien Masanès. Proc. of the 10th Temporal Web Analytics Work-
    shop (TempWeb). TheWebConf 2020 (WWW Companion Volume), Taipei, Taiwan, Apr 2020.

[6] Marc Spaniol, Ricardo Baeza-Yates, Julien Masanès. The 9th Temporal Web Analytics Workshop (Tem-
    pWeb’19). WWW (Companion Volume), San Francisco, USA, May 2019.

[7] Ling Liu, Ryen W. White, Amin Mantrach, Fabrizio Silvestri, Julian J. McAuley, Ricardo Baeza-Yates,
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     University of Chile, Santiago, Chile, January 1985. (in Spanish).


13     Teaching Record
I have taught the following undergraduate courses in Spanish at Universidad de Chile (1985-2004) and Uni-
versitat Pompeu Fabra, Spain (2005-14) (most recent first, although many were taught more than once):
Information Retrieval (also taught in English at University of Canterbury, New Zealand, in 2004), Data
Structures, Design and Analysis of Algorithms, Bioinformatics, Introduction to Computer Programming,
Software Project, Object Oriented Programming, Software Workshop on Graphical Interfaces, Computer
Architecture, Automata Theory and Formal Languages, Design and Construction of Compilers, Informa-
tion Systems, Programming Languages, Introduction to Computer Graphics, Numerical Algorithms, Digital
Systems, Operating Systems, and Software Tools.
     The courses on Computer Graphics (1985), Object Oriented Programming (1990), Software Workshop
on Graphical Interfaces (1991), Problem Solving Seminar (1993), Visualization Seminar (1997), and Bioin-
formatics (2001) were incorporated to the computer engineering studies of Universidad de Chile by myself,
as well as the current M.Sc. curricula while being the graduate coordinator. The course of Information
Retrieval was incorporated in the curricula of Universitat Pompeu Fabra by myself in 2005.
     I have taught the following graduate courses (university, language and years are indicated): Web Re-
trieval and Data Mining (Universitat Pompeu Fabra, English, 2010-14), Web Search (Univ. Carlos III,
Spain, Spanish, 2005-07), Advanced Data Structures, Problem Solving Seminar, Visualization Seminar and
Text Searching Seminar (Universidad de Chile, Spanish, 1990-95).
     Have been professor of the CS Ph.D. programs at University Carlos III, Madrid, Spain; Univ. Rovira i
Virgili, Tarragona, Spain; Polytechnic Univ. of Madrid, Spain; Polytechnic Univ. of Catalunya, Spain; and
Catholic University, Santiago, Chile.


14     Theses and Student Projects Supervised
14.1   Ph.D.
   1. Diana Ramı́rez-Cifuentes. A Data Driven Framework for Mental Health States Assessment in Social
      Platform. Ph.D. in Computer Science, Univ. Pompeu Fabra, Barcelona, Spain, July 2022. Co-advisor:
      Ana Freire.

   2. Maria Rauschenberger. Early Screening of Dyslexia using a Language-Independent Content Game
      and Machine Learning. Ph.D. in Computer Science, Univ. Pompeu Fabra, Barcelona, Spain, October
      2019. Co-advisor: Luz Rello.

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 3. Necati Bora Edizel. Word Embeddings with Applications to Web Search and Advertising. Ph.D. in
    Computer Science, Univ. Pompeu Fabra, Barcelona, Spain, July 2019. Co-advisor: Amin Mantrach.

 4. Ioanna Tsalouchidou. Temporal Analysis of Dynamic Large Graphs. Ph.D. in Computer Science,
    Univ. Pompeu Fabra, Barcelona, Spain, October 2018. Co-advisor: Francesco Bonchi.

 5. Lorena Recalde. Modeling User Preferences in Online Social Networks. Ph.D. in Computer Science,
    Univ. Pompeu Fabra, Barcelona, Spain, October 2018. Co-advisor: David Nettleton.

 6. Zeinab Liaghat. Quality-Efficiency Trade-offs in Machine Learning Applied to Text Processing.
    Ph.D. in Computer Science, Univ. Pompeu Fabra, Barcelona, Spain, March 2017.

 7. Çigdem Aslay. From Viral Marketing to Social Advertising: Ad Allocation under Social Influence.
    Ph.D. in Computer Science, Univ. Pompeu Fabra, Barcelona, Spain, December 2016. Co-advisor:
    Francesco Bonchi.

 8. Adiya Abisheva. Opinion Polarization in Online Communities. Ph.D. in Sciences, ETH Zurich,
    Switzerland, December 2016. Main advisor: Frank Schweitzer.

 9. Yasir Mehmood. Modeling the Roles of Users and Groups in the Dynamics of Information Propaga-
    tion. Ph.D. in Computer Science, Univ. Pompeu Fabra, Barcelona, Spain, April 2016. Co-advisor:
    Francesco Bonchi.

10. Eduardo Graells-Garrido. Biased Behavior in Web Activities: From Understanding to Unbiased Vi-
    sual Exploration. Ph.D. in Computer Science, Univ. Pompeu Fabra, Barcelona, Spain, May 2015.
    Co-advisor: Mounia Lalmas.

11. Janette Lehmann. From Site to Inter-site User Engagement: Fundamentals and Applications. Ph.D.
    in Computer Science, Univ. Pompeu Fabra, Barcelona, Spain, February 2015. Co-advisor: Mounia
    Lalmas.

12. Ruth Garcı́a-Gavilanes. User Behavior in Microblogging with a Cultural Emphasis. Ph.D. in Com-
    puter Science, Univ. Pompeu Fabra, Barcelona, Spain, February 2015.

13. Michele Trevisiol. Exploiting Implicit User Activity for Media Recommendation. Ph.D. in Computer
    Science, Univ. Pompeu Fabra, Barcelona, Spain, October 2014. Co-advisor: Alejandro Jaimes.

14. Luca Chiarandini. Characterizing and Modelling Web Sessions with Applications. Ph.D. in Computer
    Science, Univ. Pompeu Fabra, Barcelona, Spain, October 2014. Co-advisor: Alejandro Jaimes.

15. Luz Rello. Dyswebxia: A Text Accessibility Model for People with Dyslexia. Ph.D. in Computer
    Science, Univ. Pompeu Fabra, Barcelona, Spain, June 2014. Co-advisor: Horacio Saggion.

16. Diego Saéz-Trumper. Finding Relevant People in Online Social Networks. Ph.D. in Computer Sci-
    ence, Univ. Pompeu Fabra, Barcelona, Spain, December 2013.

17. Hossein Vahabi. Recommendation Techniques for Web Search and Social Media. Ph.D. in Computer
    Science, Institute for Advanced Studies, Lucca, Italy. July 2012. Co-advisor: Fabrizio Silvestri.


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18. Liliana Calderón-Benavides. Unsupervised Identification of the User’s Query Intent in Web Search.
    Ph.D. in Computer Science, Univ. Pompeu Fabra, Barcelona, Spain, September 2011.

19. Cristina González-Caro. Supervised Identification of the User Intent of Web Search Queries. Ph.D.
    in Computer Science, Univ. Pompeu Fabra, Barcelona, Spain, September 2011.

20. Ximena Olivares. Large Scale Image Retrieval based on User Generated Content. Ph.D. in Computer
    Science, Univ. Pompeu Fabra, Spain, March 2011. Co-advisor: Roelof Van Zwol.

21. Vı́ctor Pascual. Visual Exploration of Web Spaces. Ph.D. in Computer Science, Univ. Pompeu Fabra,
    Spain, December 2010. Co-advisor: Juan Carlos Dürsteler.

22. Ilaria Bordino. Graph Mining and Its Application to the Web. Ph.D. in Computer Science, Universitá
    di Roma “La Sapienza”, Italy, and Univ. Pompeu Fabra, Spain, June 2010. Co-advisor: Stefano
    Leonardi.

23. Barbara Poblete. Query Based Data Mining for the Web. Ph.D. in Computer Science, Univ. Pompeu
    Fabra, Spain, October 2009. Co-advisor: Myra Spiliopoulou.

24. Omar Alonso. Temporal Information Retrieval. Ph.D. in Computer Science, Univ. of California at
    Davis, USA, September 2008. Co-advisor: Michael Gertz.

25. Alvaro Pereira Jr. A Model for Fast Web Mining Prototyping: Design, Algebra, Implementation and
    Use Cases. Ph.D. in Computer Science, Univ. Federal de Minas Gerais, Brazil, September 2008.
    Co-advisor: Nivio Ziviani.

26. Mendoza, Marcelo. Query Log Mining in Search Engines. Ph.D. in Computer Science, Univ. de
    Chile, June 2007. Co-advisor: Carlos Hurtado.

27. Badue, Claudine. Design and Analysis of Web Search Systems. Ph.D. in Computer Science, Univ.
    Fed. de Minas Gerais, Brazil, February 2007. Main advisor: Nivio Ziviani.

28. Castillo, Carlos. Effective Web Crawling, Ph.D. in Computer Science, Univ. de Chile, November
    2004.

29. Chávez, Edgar. Similarity Searching on Metric Spaces, Ph.D. in Computer Science, CIMAT, México,
    September 1999. Co-advisor: José Luis Marroquı́n.

30. Vegas, Jesús. An Information Retrieval System on Structure and Content (in Spanish), Ph.D. in Com-
    puter Science, Univ. de Valladolid, Spain, May 1999. Main advisor: Pablo de la Fuente.

31. Navarro, Gonzalo. Approximate Text Searching, Ph.D. in Computer Science, Univ. de Chile, Decem-
    ber 1998.

32. Barbosa, Eduardo. Efficient Text Retrieval Methods for Secondary Memory, Ph.D. in Computer Sci-
    ence, Univ. Fed. de Minas Gerais, Brazil, July 1995. Main advisor: Nivio Ziviani.




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14.2   M.Sc.
Some of them are in Spanish:

  1. Aida Sharif Rohani. Bias Measurement in Small Datasets. M.Sc. in Computer Science, Northeastern
     University at Silicon Valley, January 2021.

  2. Martı́ Mayo. Feasibility of Word Difficulty Prediction. Master Program in Intelligent Interactive
     Systems, Universitat Pompeu Fabra, September 2014.

  3. Nacati Bora Edizel. Enriching User Profiles for News Personalization. Master Program in Intelli-
     gent Interactive Systems, Universitat Pompeu Fabra, September 2014. Co-advisor: Berkant Barla
     Cambazoglu.

  4. Guillem Frànces. A Machine Learning Approach for Query Forwarding on Distributed Search En-
     gines. Master Program in Intelligent Interactive Systems, Universitat Pompeu Fabra, September 2013.
     Co-advisor: Berkant Barla Cambazoglu.

  5. David Martı́n-Borregón. Space and Time Clusterization of Social Media Groups. Master Program in
     Intelligent Interactive Systems, Universitat Pompeu Fabra, September 2013. Co-advisor: Luca Aiello.

  6. Sandra Gilabert. Analysis of Temporal User Habits from Query Logs. Master Program in Intelligent
     Interactive Systems, Universitat Pompeu Fabra, September 2013. Co-advisor: Peter Mika.

  7. Sarigiannis Charalampos. Network and Performance Analysis of a Multi-site Web Search Engine,
     Master Program in Information, Communication and Audiovisual Media Technologies, Universitat
     Pompeu Fabra, September 2008.

  8. Cristina Monter Oliver. The intention behind Web queries: methodology for the creation of a use
     taxonomy. Master in Digital Content Management, University of Barcelona, September 2008.

  9. Poblete, Bárbara. A Query Mining Tool for the Design of the Content and Structure of Web Sites,
     M.Sc. in Computer Science, Univ. of Chile, Chile, November 2004. Won the second place award to
     the best M.Sc. thesis in Latinamerica in 2005.

 10. Acuña, Vicente. C-rewriting and Classification by Context, M.Sc. in Computer Science, Univ. of
     Chile, Chile, November 2004. Co-supervised with Alejandro Maass.

 11. Cuquejo, Virna. Data Structures and Algorithms to Search Similar Objects in Metric Spaces, M.Sc.
     in Computer Science, Univ. of Chile, Chile, November 2000. Co-supervised with Gonzalo Navarro.

 12. Alonso, Omar. A Model for Document Visualization in WWW, M.Sc. in Computer Science, Univ. of
     Chile, Chile, December 1999.

 13. Mecoli, Claudio. DomainView: A User Interface Metaphor based on Domains, M.Sc. in Computer
     Science, Univ. of Chile, Chile, December 1999.

 14. Beck, Héctor. The Problem of Minimum Cost Spanning 2-Tree and Isolated Failure Inmune Net-
     works, M.Sc. in Computer Science, Univ. of Chile, Chile, December 1998.

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 15. Barros, Alejandro. Change of Milenium: A Methodological Approach, M.Sc. in Computer Science,
     Univ. of Chile, Chile, May 1998.

 16. Scheihing, Rodrigo. Study of some Combinatorial Problems in Strings, M.Sc. in Computer Science,
     Univ. of Chile, Chile, August 1996.

 17. Hochsztain, Esther. A Database Approach via graph views in Persistent C++, M.Sc. in Computer
     Science, Univ. of Chile, Chile, December 1995. Co-supervised with Hermann Steffen (Univ. de la
     República, Uruguay).

 18. Valmadre, Gastón. Visual Debugging and Program Animation, M.Sc. in Computer Science, Univ. of
     Chile, Chile, October 1995.

 19. Navarro, Gonzalo. A Query Language for Structure and Contents of Text Databases, M.Sc. Computer
     Science, Univ. of Chile, April 1995. Won the award to the best M.Sc. thesis in Latinamerica in 1996.

 20. Araya, Gladys. Evaluation of Tools for GUI Construction, M.Sc. Computer Science, Univ. of Chile,
     1994. Co-supervised with Juan Alvarez.

 21. Soza, Héctor. Analysis of Linear Hashing, M.Sc. Computer Science, Univ. of Chile, 1993. Won the
     award to the best M.Sc. thesis in Latinamerica in 1994.

 22. Fuentes, Luis. A System for Animation of Text Algorithms, M.Sc. Computer Science, Univ. of Chile,
     1992.

 23. Marı́n, Mauricio. Design of a Specialized System for Event Driven Molecular Dynamics, M.Sc.
     Computer Science, Univ. of Chile, 1992. Co-supervised with Patricio Cordero.

14.3   Final Engineering Projects
All of them are in Spanish:

   1. Villar, Osvaldo. Mining and Personalization of a Website for Ringtones, Computer Engineering de-
      gree, Univ. of Chile, December 2007.

   2. Galleguillos, Carolina. Information Extraction from the Web: Identification of Specific Content in a
      Non Structured Text, Computer Engineering degree, Univ. of Chile, August 2005.

   3. Loira, Nicolás. Design and Implementation of a Combinatorial Algorithm to Find Patterns in Elec-
      trophoresis Images, Computer Engineering degree, Univ. of Chile, August 2005.

   4. Salinger, Alejandro. A Simple Alphabet Independent Compressed Index, Computer Engineering de-
      gree, Univ. of Chile, 2005. Co-advisor (Advisor: Gonzalo Navarro).

   5. Herskovic, Valeria. A Visual Query Language for XQuery, Computer Engineering degree, Univ. of
      Chile, April 2005.

   6. Barrera, Cristián. Web Visualization of XML Documents using Fisheye Trees, Computer Engineering
      degree, Univ. of Chile, April 2005.

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   7. Paredes, Carla. Tool for Advertising in Search Engines based in Query Analysis, Computer Engineer-
      ing degree, Univ. of Chile, April 2005.

   8. Graves, Alvaro. Data Mining for Web Sites Oriented to Services, Computer Engineering degree, Univ.
      of Chile, January 2005.

   9. Davis, Emilio. A New Web Search Model with Static Ranking, Computer Engineering degree, Univ.
      of Chile, August 2003.

 10. Collado, Miguel Angel. Management of a Control Software Project, Computer Engineering degree,
     Univ. of Chile, December 2002.

 11. Benoit, Nicole. Study of the relation between protein palindromy and their structure and function,
     Biotechnology and Chemistry Engineering degree, Univ. of Chile, Oct 2002.

 12. Muñoz, Francisca. Development of an Hybrid Data Structure for Searching in Metric Spaces, Com-
     puter Engineering degree, Univ. of Chile, 2002. Co-advisor (Advisor: Gonzalo Navarro).

 13. Ortega, Manuel. Implementation of a XML Query Language based in Proximal Nodes, Computer
     Engineering degree, Univ. of Chile, 2002. Co-advisor (Advisor: Gonzalo Navarro).

 14. Saint-Jean, Felipe. Mining the Web with Applications to a Search Engine, Computer Engineering
     degree, Univ. of Chile, May 2002.

 15. Castillo, Carlos. Characterizing the Chilean Web and Extensions to a Web Search Engine, Computer
     Engineering degree, Univ. of Chile, October 2000.

 16. Vásquez, Mauricio. Integration of a Search Engine to a Web Application, Computer Engineering
     degree, Univ. of Chile, November 1998.

 17. Quezada, Gastón. Design and Implementation of a C Preprocessor for Program Animation, Computer
     Engineering degree, Univ. of Chile, November 1995.

 18. De Saint-Pierre, Didier. Design and Implementation of a Workflow applied to Electrical Distribution
     of Energy, Computer Engineering degree, Univ. of Chile, 1994.

 19. Aguilar, Waldo. Animation of Dynamic Data Structures, Computer Engineering degree, Univ. of
     Chile, 1992.


15     Editorial Boards
I am editor of the following journals: Information Systems (Elsevier, Netherlands) since 2002, Computing
(Springer, Germany) since 2013, Journal of Web Engineering (USA) since 2002, Theoretical Informatics
and Applications - RAIRO (France) since 1998. Grammars (Netherlands) since 2004, Journal of the SBC
(Brazil) since 2002, First Monday (USA) since 2001, and El Profesional de la Información (Spain) since
2003.
    I was the first Editor-in-Chief of the CLEI Electronic Journal at www.clei.cl from 1998 to 2005. I
also was member of the editorial boards of ACM Transactions on Information Systems (ACM, USA) from

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2002 to 2014, Information Processing & Management (Elsevier, Netherlands) from 2005 to 2011 (since
2007 as Associated Editor), VLDB Journal (Springer, Germany) from 2001 to 2007, Computer Science Re-
view (Elsevier, Netherlands) from 2013 to 2014, Information Technology for Development (Netherlands),
International Journal of Web Information Systems (UK), Journal of Digital Management (India-South Ko-
rea) from 2003 to 2005, Computación y Sistemas (México), Novática (Spain), Revista de la SCCC (Chile)
and Revista Colombiana de Informática (Colombia).


16     Selected Keynotes
     • “The Shades of AI and Ist Challenges” (in Spanish), Congress of the Future, Santiago, Chile, Jan
       2024. YouTube: https://www.youtube.com/watch?v=ms3MmgP7Fhw.

     • “Responsible AI: Challenges & Recommendations”, Digital Humanism Seminar, Vienna, Austria,
       Jun 2023. YouTube: https://www.youtube.com/watch?v=UbgxJyGNaSs.

     • “Ethics in AI: A Challenging Task”, Keynote at ECIR 2021, Lucca, Italy, Mar 2021. YouTube:
       https://www.youtube.com/watch?v=tTvrec7VMZI.

     • “Bias on Search and Recommender Systems”, Keynote at RecSys 2020, Rio de Janeiro, Brasil, Jun
       2020. YouTube: https://www.youtube.com/watch?v=8zetbdx4_08&t=60s.

     • Bias in the Web, Gödel Annual Seminar, Wien, Austria, Jun 2017. YouTube: https://www.
       youtube.com/watch?v=CguWbbQeruM.

     • “Data Monopoly: A New Power?” (in Spanish), The Congress of the Future, Santiago, Chile, Jan
       2016. YouTube: https://www.youtube.com/watch?v=fFlkOKUa2M0.

     • “Does Big Data Empowers the Web?” (in Spanish), TEDx Barcelona, July 2015. YouTube: https:
       //www.youtube.com/watch?v=JvO1P8yGVqA (more than 4,000 views).

     • Invited speaker or tutorial teacher at many conferences including ACM SIGIR, WWW, ACM WSDM,
       VLDB, ACM CIKM, ACM Recsys, SDM, ACM Hypertext, ACM Web Science, ECDL, ICDE, ECIR,
       ECML/PKDD, ESWC, UMAP, ICWE, EDBT, ISSI, SPIRE, CIAC, CLEF, NLDB, SAMT, SSDBM,
       SISAP, ICTIR, DSAI, ICWI, WISE, CRWIG, Simultools, SRDS, IDA, LA-WEB, etc.; as well as in
       many workshops.

     • Invited speaker in many professional events related to the Web, search technology, and innovation
       in several countries: Brazil, Chile, Finland, Italy, Mexico, Netherlands, Spain, Switzerland, United
       Kingdom, and USA.


17     Service at Conferences
     • Member of the steering committees of ACM CIKM (since 2014), ICWSM (since 2014), SPIRE since
       1998 (co-founder), AMW since 2006 (co-founder), OAIR since 2011, ESSIR since 2009, and LA-
       WEB since 2003 (founder). I was part of the steering committee of ACM WSDM from 2008 to 2017
       (co-founder) and LATIN from April 1995 to March 2006.

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• Conference co-chair of The Web Conference 2019 (formerly WWW), San Francisco, USA, May
  2019; Conference co-chair of IEEE Big Data 2017, Boston, USA, Dec 2017; Co-organizing chair
  of ESSIR 2017, Barcelona, Spain, Sep 2017; Conference co-chair of IEEE ICDM 2016, Barcelona,
  Spain, Dec 2016; Conference chair of ACM SIGIR 2015, Santiago, Chile, Aug 2015; Conference
  chair of LA-WEB 2014, Ouro Preto, Brazil, Oct 2014; Conference chair of AMW 2014, Cartagena de
  Indias, Colombia, Jun 2014; Conference chair of LA-WEB 2012, Cartagena de Indias, Colombia, Oct
  2012; Conference chair of ECIR 2012, Barcelona, Spain, Apr 2012; Co-organizing chair of ESSIR
  2009, Padova, Italy, Sep 2009; Conference chair of ACM WSDM 2009, Barcelona, Spain, Feb 2009;
  Conference chair of LA-WEB 2008, Vila Velha, Brazil, Oct 2008; Conference chair of SPIRE 2007
  and LA-WEB 2007 (collocated) Santiago, Chile, Oct 2007; Conference co-chair of ACM SIGIR 2015
  in Bahia, Brazil, Aug 2005; Conference chair of the first Latin American Web conference (LA-WEB
  2003) in Santiago, Chile, Nov 2003; Conference co-chair of IEEE PROMSMmNet’97, Santiago,
  Chile, Nov 1997; Conference co-chair of LATIN’95, Viña del Mar, Chile, Apr 1995; Conference
  chair of the 2nd South American Workshop on String Processing, Viña del Mar, Chile, Apr 1995;
  and Conference chair of the XI International Conference of the Chilean Computer Science Society,
  Santiago, Chile, Oct 1991.

• Panels Co-chair for The Web Conference 2021 (Ljubjana, Slovenia, May 2021); Applied Research co-
  chair for CIKM 2020 (Galway, Ireland, Oct 2020); Tutorials co-chair for ASONAM 2018 (Barcelona,
  Spain, Sep 2018); Tutorials co-chair for WWW 2015 (Florence, Italy, May 2015); Workshops co-
  chair for WWW 2014 (Seoul, South Korea, Apr 2014); Program committee co-chair for WWW 2013
  (Rio de Janeiro, Brazil, May 2013); Industry and EU projects tracks co-chair for WWW 2012 (Lyon,
  France, April 2012); Program committee co-chair for SIGIR 2011 (Beijing, China, Jul 2011); Pro-
  gram committee co-chair for ICWSM 2011 (Barcelona, Spain, Jul 2011); Tutorial chair for WWW
  2010 (Raleigh, USA, Apr 2010); Program committee chair for ACM Web Intelligence & Internet
  Agent Technology (Milano, Italy, September 2009); Industrial track PC co-chair for KDD 2009 (Paris,
  France, June 2009); Ibero-American track co-chair for WWW 2009 (Madrid, April 2009); Workshops
  co-chair for WWW 2008 (Beijing, China, Apr 2008); Program committee vice-chair for ICDM 2008
  (Pisa, Italy, December 2008); Program committee co-chair for CIKM 2007 (Lisbon, Portugal, Novem-
  ber 2007); Program committee co-chair for the Mexican Computer Science Conference (ENC 2004,
  Colima, Mexico, September 2004); Program committee co-chair for the First Latin-American Web
  Conference (LA-WEB, Santiago, Chile, November 2003); Program committee co-chair for the Com-
  binatorial Pattern Matching (CPM, Morelia, Mexico, June 2003); Program committee chair for the
  Americas of the ACM Conference in Information Retrieval (SIGIR, Tampere, Finland, Aug 2002);
  Program committee co-chair of IFIP TCS’2002 (Montreal, Canada, Aug 2002); Program committee
  chair of the XXI Int. Conf. of the Chilean Computer Science Society (Punta Arenas, Chile, Nov
  2001); Program committee chair of the XVII Int. Conf. of the Chilean Computer Science Society and
  the Fourth South American Workshop on String Processing (Valparaı́so, Chile, Nov 1997); Program
  co-chair of LATIN’95, Viña del Mar, April, 1995. Program committee chair of the XIII Int. Conf.
  of the Chilean Computer Science Society (La Serena, October 1993), and the 1st South American
  Workshop on String Processing (Belo Horizonte, Brazil, September 1993).

• Founder and organizer of the Future of Web Search workshop: Barcelona (2006), Bertinoro (2007),
  Andorra (2008) and Ibiza (2009), which continued as the Future of the Social Web workshop


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  (Barcelona, 2011).

• Co-organizer of the first two XML Retrieval workshops at SIGIR in 2000 and 2002. Co-organizer of
  the first workshop of Content Analysis in the Web 2.0 at WWW 2009. Co-organizer of the Temporal
  Web workshops at WWW since 2011. Co-organizer of the first CrowdSearch workshop at WWW
  2012.

• Program Committee member of: WSDM 2021 (senior member, Jerusalem, Israel, Mar 2021); ECAI
  2020 (senior member, Santiago de Compostela, Spain, Sep 2020); TheWebConf 2020 (senior mem-
  ber, Taipei, Taiwan, Apr 2020); SIGIR 2019 (senior member, Paris, France, Jul 2019); SIRIP 2019
  (member, Paris, France, Jul 2019); WebSci 2019 (senior member, Boston, USA, Jun 2019); WSDM
  2019 (senior member, Melbourne, Australia, Feb 2019); SPIRE 2018 (Lima, Peru, Oct 2018); KDD
  2018 (senior member, London, UK, Aug 2018); SIGIR 2018 (senior member, Ann Arbor, USA, Jul
  2018); WWW 2018 (senior member, Lyon, France, Apr 2018); WSDM 2018 (senior member, Marina
  del Rey, USA, Feb 2018); SIGKDD Doctoral Dissertation Awards Committee (2017); SIGIR 2017
  (senior member, Tokyo, Japan, Aug 2017); WebSci 2017 (senior member, Troy, USA, Jun 2017);
  ICWSM 2017 (senior member, Montreal, Canada, May 2017); WSDM 2017 (senior member, Cam-
  bridge, UK, Feb 2017); ICWSM 2016 (senior member, Cologne, Germany, May 2016); WSDM 2016
  (senior member, San Francisco, USA, Feb 2016); KDD 2015 (Sydney, Australia, Aug 2015); WWW
  2015 (track co-chair, Florence, Italy, May 2015); ICWSM 2012 (senior member, Oxford, UK, May
  2015); WSDM 2015 (senior member, Shanghai, China, Feb 2015); SPIRE 2014 (Ouro Preto, Brazil,
  Oct 2014); KDD 2014 (New York, USA, Aug 2014); ICWSM 2014 (senior member, Ann Arbor,
  USA, Jun 2014); LATIN 2014 (Montevideo, Uruguay, May 2014); SPIRE 2013 (Israel, Oct 2013);
  ICWSM 2013 (senior member, Cambridge, USA, Jul 2013); CICLING 2013 (Samos, Greece, Mar
  2013); EDBT 2013 (Genoa, Italy, Mar 2013); ICDM 2012 (Brussels, Belgium, Dec 2012); CIKM
  2012 (Maui, USA, Nov 2012); SPIRE 2012 (Cartagena, Colombia, Oct 2012); ICWSM 2012 (se-
  nior member, Dublin, Ireland, Jun 2012); WAW 2012 (Halifax, Canada, Jun 2012); ICWSM 2012
  (senior member, Dublin, Ireland, Jun 2012); CERI 2012 (Valencia, Spain, Jun 2012) LATIN 2012
  (Arequipa, Perú, Apr 2012); WWW 2012 (senior member, Lyon, France, Apr 2012); WSDM 2012
  (senior member, Seattle, USA, Feb 2012); CICLing 2012 (Delhi, India, Feb 2012); SPIRE 2011 (Pisa,
  Italy, Oct 2011); VLDS 2011 (Seattle, USA, Sep 2011); KDD 2011 (industrial track, San Diego,
  USA, Aug 2011); EDBT 2011 (Saint Petersburg, Russia, May 2011); ECIR 2011 (Dublin, Ireland,
  Apr 2011); EDBT 2011 (Uppsala, Sweden, Mar 2011); WSDM 2011 (senior member, Hong Kong,
  China, Feb 2011); PDP 2011 (Ayia Napa, Cyprus, Feb 2011); ICDM 2010 (Sydney, Australia, Dec
  2010); EHealth 2010 (Casablanca, Morocco, Dec 2010); JCC 2010 (Antofagasta, Chile , Nov 2010);
  SBBD 2010 (Belo Horizonte, Brazil, Nov 2010); SPIRE 2010 (Los Cabos, Mexico, Oct 2010); KDD
  2010 (senior member, Washington DC, USA, Jul 2010); LSDR-IR 2010 (Geneva, Switzerland, Jul
  2010); SIGIR 2010 (Geneva, Switzerland, Jul 2010); FUN 2010 (Ischia, Italy, Jun 2010); CERI 2010
  (Madrid, Spain, Jun 2010); AMW 2010 (Buenos Aires, Argentina, May 2010); IRFC-2010 (Vienna,
  Austria, May 2010); WWW 2010 (Raleigh, USA, Apr 2010); LATIN 2010 (Oaxaca, Mexico, Apr
  2010); ECIR 2010 (Milton Keynes, UK, Mar 2010); PDP 2010 (Pisa, Italy, Feb 2010); ICDM 2009
  (Miami, USA, Dec 2009); CIKM 2009 (Hong Kong, China, Nov 2009); DAMIEN 2009 (Riga, Latvia,
  Sep 2009); VLDB 2009 (Lyon, France, Aug 2009); SPIRE 2009 (Saariselkä, Finland, Aug 2009); SI-
  GIR 2009 (Boston, USA, Jul 2009); LSDS-IR 2009 (Boston, USA, Jul 2009); CPM 2009 (Lille,


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 France, Jun 2009); AMW 2009 (Arequipa. Perú, May 2009); EDBT 2009 (Saint Petersburg, Russia,
 May 2009); WWW 2009 (Madrid, Spain, Apr 2009); SIAM SDM 2009 (Sparks, USA, Apr 2009);
 ECIR 2009 (Toulouse, France, Apr 2009); ER 2008 (Demos, Barcelona, Spain, Sep 2008); TCS 2008
 (Milano, Italy, Sep 2008); ECML/PKDD 2008 (Antwerp, Belgium, Sep 2008); CharLA 2008 (Buenos
 Aires, Argentina, Sep 2008); WebKDD 2008 (Las Vegas, USA, Aug 2008); PersDB 2008 (Auckland,
 NZ, Aug 2008); SIGIR 2008 (Singapore, Jul 2008); AWIC 2008 (Cape Town, South Africa, Jul
 2008); ACM Hypertext 2008 (Senior member, Pittsburgh, USA, Jun 2008); CPM 2008 (Pisa, Italy,
 Jun 2008); ECIR 2008 (Glasgow, Scotland, Apr 2008); ACM SAC 2008 (Fortaleza, Brazil, Mar
 2008); ACM WSDM 2008 (Stanford, USA, Feb 2008); WebKDD/SNAKDD 2007 (San Jose, Aug
 2007); SIGIR 2007 (Amsterdam, Netherlands, Jul 2007); LSDS-IR 2007 (Amsterdam, Netherlands,
 Aug 2007); PODS 2007 (Beijing, China, Jun 2007); WEA 2007 (Rome, Italy, Jun 2007); AWIC
 2007 (Fontainebleau, France, Jun 2007); Infoscale 2007 (Suzhou, China, Jun 2007); WWW 2007
 (Banff, Canada, May 2007); ECIR 2007 (Rome, Italy, Apr 2007); MMOIR 2007 (Hyderabad, India,
 Jan 2007); CIKM 2006 (Arlington, USA, Nov 2006); SPIRE 2006 (Glasgow, Scotland, Oct 2006);
 LA-WEB 2006 (Puebla, Mexico, Oct 2006); HLT-EMNLP 2005 (Vancouver, Canada, Oct 2006);
 ECDL 2006 (Alicante, Spain, Oct 2006); UKDU 2006 (Berlin, Germany, Sep 2006); VLDB 2006
 (Seoul, South Korea, Sep 2006); SIGIR 2006 (Seattle, USA, Aug 2006); AMCIS 2006 (Acapulco,
 Mexico, Aug 2006); WebKDD 2006 (Philadelphia, USA, Aug 2006); CPM 2006 (Barcelona, Spain,
 Jun 2006); WWW 2006 (Edinburgh, UK, May 2006); ICEIS 2006 (Paphos, Cyprus, May 2006);
 ACM SAC 2006 (Dijon, France, Apr 2006); ECIR 2006 (London, UK, Apr 2006); EDBT & DataX
 2006 (MUnich, Germany, Mar 2006); ALENEX 2006 (Miami, USA, Jan 2006); COMAD 2005b
 (Hyderabad, India, Dec 2005); SCCC 2005 (Valdivia, Chile, Nov 2005); AIRS 2005 (Jeju Island,
 South Korea, Oct 2005); ECDL 2005 (Vienna, Austria, Sep 2005); XSym 2005 (Trondheim, Nor-
 way, Aug 2005); SBC-BSB 2005 (Brazil, Jul 2005); ICEIS 2005 (Miami, USA, May 2005); ECIR
 2005 (Santiago de Compostela, Spain, Mar 2005); ACSC 2005 (Newcastle, Australia, Jan 2005);
 LA-WEB 2004 (Ribeirao Preto, Brazil, Nov 2004); AIRS 2004 (Beijing, China, Oct 2004); SPIRE
 2004 (Padova, Italy, Oct 2004); ECDL 2004 (Bath, UK, Sep 2004); WebDB 2004 (Paris, France, Jun
 2004); 3rd Web Dynamics workshop (New York, USA, May 2004); AWIC 2004 (Cancun, Mexico,
 May 2004); ICEIS 2004 (Porto, Portugal, Apr 2004); ECIR 2004 (Sunderland, England, Apr 2004);
 Workshop on Database Technologies for Handling XML information on the Web (Heraklion, Greece,
 Mar 2004); SPIRE 2003 & SBBD’2003 (Manaus, Brazil, Oct 2003); ECDL 2003 (Trondheim, Nor-
 way, Aug 2003); CIA 2003 (Helsinki, Finland, Aug 2003); SIGIR 2003 (Toronto, USA, Jul 2003);
 WWW 2003 (Budapest, Hungary, May 2003); 1st Atlantic Conference on Web Mining Conference
 (Madrid, Spain, May 2003); PAKDD 2003 Workshop on Knitting Web Linkages (Seoul, South Korea,
 May 2003) ICEIS 2003 (Angers, France, Apr 2003); HIS 2002 (Santiago, Chile, Dec 2002); Informa-
 tion and Knowledge Sharing - IKS (St. Thomas, US Virgin Islands, Nov 2002); Spanish Workshop
 on Digital Libraries (El Escorial, Spain, Nov 2002); ECDL 2002 (Rome, Italy, Sep 2002); SPIRE
 2002 (Lisbon, Portugal, Sep 2002); ICALP 2002 (Málaga, Spain, Jul 2002); ICEIS 2002 (Ciudad
 Real, Spain, Apr 2002); SIAM IWAP 2002 (Caracas, Venezuela, Jan 2002); 2nd Int. Conf. on Web
 Information Systems (Kyoto, Japan, Dec 2001); 6th On-line World Conference on Soft Computing
 in Industrial Applications (WSC6), 2001; SIGIR 2001 (New Orleans, USA, Sept 2001); VLDB 2001
 (Rome, Italy, Sept 2001); CIA 2001 (Modena, Italy, Sept 2001); ALCOM 2001 (San José, Costa Rica,
 May 2001); ICDE 2001 (Heidelberg, Germany, Apr 2001); WIIW (Rio de Janeiro, Brazil, Apr 2001);


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      CICLing 2001 (Mexico City, Mexico, Jan 2001); FQAS 2000 (Warsaw, Poland, Oct 2000); SBBD
      2000 (Joao Pessoa, Brazil, Oct 2000); SPIRE 2000 (A Coruña, Spain, Sept 2000); IFIP TCS2000
      (Tokyo, Japan, Aug 2000); ACM SIGIR 2000 (Athens, Greece, Jul 2000); EDBT 2000 (Konstanz,
      Germany, Mar 2000); ICIS’99 (Charlotte, USA, Dec 1999); SPIRE’99 (Cancun, Mexico, Sept 1999);
      ISCA PDCS’99 (Fort Lauderdale, USA, Aug 1999); ACM SIGIR’99 (San Francisco, USA, 1999);
      ACM SIGMOD’99 (Philadelphia, USA, 1999); ACM CIKM’98 (Baltimore, USA, Nov 1998); 6th
      Ibero-American Congress on Higher CS Education (Quito, Ecuador, Oct. 1998); SPIRE’98 (Sta.
      Cruz, Bolivia, Sept 1988); ACM SIGIR’98 (Melbourne, Australia, Aug 98); COCOON’98 (Taiwan,
      Aug 98); VLDB’98 (New York, USA, Aug 1998); Combinatorial Pattern Matching, CPM’98 (Rut-
      gers, USA, Jul 1998); 4th IFIP 2.6 Working Conference on Visual Database Systems (L’Aquila, Italy,
      May 1998); TINA’97 (Santiago, Chile, Nov 1997); VLDB’97 (Aachen, Germany, Sept 1997); 26th
      JAIIO (Buenos Aires, Argentina, Aug 1997); Combinatorial Pattern Matching, CPM’97 (Aarhus,
      Denmark, Jun 1997); 1st Int. Symp. on Autonomous Decentralized Systems, ISADS’97 (Berlin,
      Germany, Apr 1997); IFIP WG 9.4 Information Technology for Competitiveness Conference (Flo-
      rianopolis, Brazil, Jun 1997); XVI Int. Conf. of the Chilean Computer Science Society (Valdivia,
      Chile, Nov 1996); 3rd Workshop on Protocols for Multimedia Systems, PROMS’96 (Madrid, Oct
      1996); 4th European Symposium on Algorithms, ESA’96 (Barcelona, Sep 1996); 5th Ibero-American
      Congress on Higher CS Education (México City, Sep. 1996); Third South American Workshop on
      String Processing, WSP’96 (Recife, Aug 1997); 25th JAIIO (Buenos Aires, Aug 1996); IFIP WG
      3.4 IT in Management Conference (Melbourne, Australia, Jul 1996); 5th Scandinavian Workshop
      on Algorithm Theory, SWAT’96 (Reykjavik, Jul 1996); XXII Latin-American Conf. on Informatics,
      PANEL’96 (Bogota, Jun 1996); Workshop on Algorithms and Data Structures, WADS’95 (Kingston,
      Aug 1995); Second South American Workshop on String Processing, WSP’95 (Valparaı́so, Apr 1995);
      VLDB’94 (Santiago, Sept 1994) (also in charge of the tutorial program); 21nd SEMISH (Caxambu,
      Brazil, Aug 1994); 23rd JAIIO (Buenos Aires, Argentina, Sept 1994); XX Latin-American Confer-
      ence (Mexico City, Sept 1994); III Ibero-American Congress on Higher CS Education (Concepción,
      Chile, Nov. 1994); LATIN’92 (Sao Paulo, Brazil, Apr 1992); and XVIII Latin-American Conference
      on Informatics (Las Palmas de Gran Canaria, Spain, Aug 1992).


18     Seminars
Invited speaker at many institutions all around the world, in many of them more than once. For sake of
conciseness we do not give dates, nor cities, only countries and institutions (without the frequency).

     • Argentina: Univ. de Buenos Aires, UNICEN, Univ. Nac. de La Plata, Univ. Nac. de San Luis, Univ.
       Nac. del Sur, Univ. Nac. de Rosario, Univ. Nac. de Santa Fe;

     • Armenia: FAST Foundation;

     • Australia: Univ. of Sydney, Univ. of Queensland, Univ. of Melbourne, CSIRO (Sydney & Canberra),
       Griffith University, Queensland Univ. of Technology, RMIT, Yahoo 7;

     • Austria: TU Wien, Central European Univ., Institute for Human Sciences (IWM), Complex Systems
       Hub;


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• Azerbaijan: Ada University;

• Bolivia: Univ. Mayor de San Andrés, Univ. Mayor de San Simón, Univ. Privada de Sta. Cruz, Univ.
  Nur;

• Brazil: Fed. Univ. of Minas Gerais, Brazilian Physics Research Center, Univ. de Campinas, Univ. de
  Sao Paulo, Fed. Univ. of Pernambuco, Fed. Univ. of Mato Grosso do Sul, Univ. Fed. de Rio Grande
  do Sul, Catholic Univ. at Rio de Janeiro and at Porto Alegre, Univ. Fed. de Bahia, Univ. Fed. de
  Ouro Preto;

• Canada: Univ. of Waterloo, Univ. of Western Ontario, Univ. of Toronto, Univ. of British Columbia,
  Carleton University, Dalhousie University, Univ. of Alberta;

• Chile: Catholic Univ. at Santiago, Univ. Técnica Federico Santa Marı́a, Univ. Católica del Norte,
  Univ. de Tarápaca, Univ. de La Frontera, Univ. del Bı́o-Bı́o, Univ. de Magallanes, Univ. de La
  Serena, Univ. Austral, Univ. de Concepción, Univ. de Talca;

• Check Republic: Check Academy of Sciences, Charles University;

• China: Tsinghua University, Zhejiang University;

• Colombia: Univ. de Los Andes, Univ. Autónoma de Bucaramanga, Univ. EAFIT, Univ. Industrial of
  Santander, Univ. Jorge Tadeo Lozano;

• Costa Rica: Inst. Tecnológico de Costa Rica;

• Cuba: CENIAI, Univ. de La Habana;

• Denmark: Univ. of Aarhus;

• Ecuador: National Polytechnic Univ., Catholic Univ.;

• El Salvador: Univ. Tecnológica del Salvador, Univ. Gerardo Barrios;

• Estonia: Univ. of Tartu;

• Ethiopia: Addis Ababa University, Addis Ababa Science & Technology University;

• France: INRIA-Rocquencourt, Univ. of Paris (Jussieau, Orsay, Nord), Univ. Marné la Valleé, Univ.
  of Nancy, Univ. Joseph Fourier;

• Finland: Univ. of Helsinki;

• Germany: European Consortium Research Center, Dagstuhl Research Center, Technical Univ. of
  Berlin, Magdeburg Univ., Darmstadt Univ., Leipzig Univ., Frankfurt Univ., Hannover Univ., Karlsruhe
  University;

• Greece: Aristotle University;

• India: IIT Bombay, IIT Madras, IMSc Chennai, IISc Bangalore;


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• Italy: Fibonacci Institute, Univ. of Rome, Univ. of Venice, Univ. of Padova, Univ. of Pisa, Politecnico
  di Milano, Univ. Milano Biccoca, Univ. of Siena, Univ. of Bologna, Univ. of Trento, Gran Sasso
  Science Institute, Bocconi Univ.;

• Japan: NTT Labs., Univ. of Tokyo, Tokyo Institute of Technology, IEE Nagoya;

• Malaysia: Multimedia University, Univ. Malaysia Sarawak;

• México: Univ. Nacional Autónoma, Instituto Politécnico, Tecnológico de Monterrey, CINVESTAV,
  CICESE, Univ. de Zacatecas, Univ. de Querétaro, CIMAT, Univ. Michoacana, Univ. de Puebla;

• New Zealand: Univ. of Canterbury, Massey University;

• Nigeria: Ladoke Akintola University of Technology (online);

• North Cyprus: Middle East Technical University;

• Norway: Norwegian University of Science and Technology, Bergen University;

• Netherlands: Univ. of Twente, Leiden University;

• Paraguay: Univ. Nacional, Univ. Católica de Nuestra Señora de la Asunción;

• Pakistan: Univ. of Management and Technology;

• Perú: Univ. de Lima, Univ. Antenor Orrego, ESAN, SISE, RCP, Univ. de San Agustı́n, DATAPRO,
  Univ. Nac. del Altiplano;

• Portugal: INESC, Univ. de Porto;

• Puerto Rico: Univ. of Puerto Rico at Mayaguez;

• Qatar: Qatar Foundation Research Institute;

• Russian Federation: Yandex; Polytechnic State Univ. of Saint Petersburg, Vorozhnev Univ;

• Singapore: National University, Singapore Management University;

• South Korea: National University at Seoul, ETRI, ICU-KAIST;

• Spain: Polytechnic Univ. of Catalunya, Univ. de Valladolid, Fundesco/ATI, Univ. Pompeu Fabra,
  Centro de Recerca Matemática, Univ. of Granada, Univ. Rey Juan Carlos I, Univ. Carlos III, Univ. of
  Islas Baleares, Univ. of Santiago de Compostela, Univ. of A Coruña, Univ. Autónoma de Barcelona,
  Univ. de Barcelona, Univ. de Jaén, Univ. of Alcala, Polytechnic Univ. of Madrid, Polytechnic Univ.
  of Valencia, Univ. Rovira i Virgili, Univ. Autónoma de Madrid, UNED, Univ. Jaume I, Inst. of
  Artificial Intelligence, Polytechnic Univ. of Las Palmas, Univ. Deusto, Univ. of Basque Country,
  Cantabria Univ., Univ. of Oviedo, Univ. of Alicante;

• Sweden: KTH, Univ. of Lund, Chalmers Univ.;

• Switzerland: Swiss Institute of Technology (ETH), Swiss Federal Polytechnic (EPFL), IDlap;

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     • Taiwan: Academia Sinica;

     • Trinidad and Tobago: Univ. of West Indies;

     • Arab United Emirates: Pilani Dubai (online);

     • United Kingdom: Oxford Univ., Glasgow Univ., Queen Mary Univ., Open Univ., Microsoft Research
       (Cambridge), Birmingham Univ., Aston Univ., Bristol Univ., Wolverhampton Univ., Loughborough
       Univ., Liverpool Univ.;

     • United States: Stanford Univ., Carnegie Mellon Univ., Univ. of Washington, Univ. of Texas at Austin,
       Indiana Univ., National Institute of Health, Univ. of Arizona, Texas Instruments Labs., IBM T.J. Wat-
       son & Almaden Research Centers, Rensselaer Pol. Ins., Oracle, Hewlett-Packard Labs., NASA Ames
       Research Center, Stanford Linear Accelerator Center, Google, Microsoft Research, Facebook, Ya-
       hoo!, Mozilla, EBay, Univ. of Washington, SAP Research, Univ. of Utah, A9.com (an Amazon.com
       subsidiary), NYU Poly, FXPal, eBay, George Mason Univ., Univ. of Houston, Northeastern Univ.,
       Northwestern Univ., Univ. of California at San Diego, Santa Barbara, Riverside, Davis & Merced, ISI
       at USA, UMass at Boston, ACM Chapters of Bay Area & Sacramento;

     • Uruguay: Univ. de la República;

     • Venezuela: Univ. Simón Bólivar, Univ. de Los Andes, IBM Scientific Center, and Univ. Central.


19     Other Relevant Information
     • I have been referee for the following journals: Communications of the ACM, Journal of the ACM,
       IEEE Trans. on Computers, IEEE Trans. on Data and Knowledge Engineering, IEEE Trans. on
       Circuits and Systems, Journal of Algorithms, BIT/Nordic Journal of Computing, Algorithmica, ACM
       Computing Surveys, ACM Trans. on Database Systems, VLDB Journal, ACM Trans. on Information
       Systems, Information Systems, SIAM Journal on Discrete Mathematics, SIAM Journal on Comput-
       ing, Computational Geometry: Theory and Applications, Information Retrieval Journal, World Wide
       Web Journal, Journal on Discrete Algorithms, Information and Processing Management, Journal on
       Combinatorial Theory (A), Information and Computation, Information Processing Letters, VLDB
       Journal, Artificial Intelligence, Random Structures & Algorithms, Theoretical Computer Science,
       Software-Practice and Experience, Combinatorics, Probability & Computing, Parallel Computing,
       Journal of Information Science, Int. J. of Computer Mathematics, Journal of Automata, Languages &
       Combinatorics, Acta Informatica, and The Computer Journal. I am also a reviewer for Mathematical
       Reviews, Butterworths, and Information and Software Technology.

     • Panelist for the Intelligent Information Systems Program of the National Science Foundation, USA,
       2018 & 2020.

     • I have evaluated grant proposals for the National Science Foundation (USA), NSERC (Canada),
       ISF (Israel), CONICYT (Chile), CNPq (Brazil), GACR (Check Republic), RGCP (Hong Kong),
       RCN (Norway), CONICET (Argentina), CONICYT (Uruguay), MEC CICYT (Spain) and
       Chilean/European Community projects.


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• I have also evaluated proposal for public biddings in Chile and research projects for Catalonia, the
  Community of Madrid and several Chilean universities, as well as curricula proposed to the Higher
  Education Council of Chile and the Council of Chilean Universities.

• Participation as external reviewer for Ph.D. theses at Univ. Paris 7, Univ. Marné la Valleé, Univ.
  of Grenoble (France), Univ. of Hannover Univ. de Karlsruhe (Germany), Univ. of Amsterdam,
  Univ. of Twente (Netherlands), NTNU (Norway), CMU, Georgia Institute of Technology (United
  States), Univ. of Melbourne (Australia), University of Lisbon (Portugal), Univ. di Roma (Italy), Univ.
  Politécnica de Madrid, Univ. Politécnica de Catalunya, Univ. de Valladolid, Univ. de A Coruña
  (Spain) and Univ. Fed. de Rio Grande do Sul (Brazil).

• I have been external evaluator for hiring or promotion cases in Argentina, Australia, Brazil, Chile,
  France, Germany, Israel, Norway, Spain, Taiwan, UK and USA; as well as reviewer for book proposals
  of several publishers.

• Several dissemination papers in Chilean magazines and monthly column in Informática (Chilean mag-
  azine) from 1993 to 2004. Editor of the Latin American news column in the Bulletin of the EATCS
  (1994-97).

• Have written several short science fiction stories, some of them published in Fanzines in Chile and
  Italy.

• Interviews for TV, radio, or press in Bolivia, Chile, Colombia, Costa Rica, Guatemala, India, Spain,
  Uruguay, United Kingdom (CBC), and USA, among others. The most watched interview is on artifi-
  cial intelligence and Internet by Aquae TV (in Spanish) that has been watched more than 4,700 times
  (https://www.youtube.com/watch?v=1ZzOgY5aOV4).

• My main interest areas for both, teaching and research, are: information retrieval and its application
  to the Web, Web data mining, data structures, design and analysis of algorithms, visualization applied
  to CS.

• Native language: Spanish. I am fluent in English and I understand Portuguese and Catalan. I can read
  Italian and French.

• I love geography, traveling, good food and wine, science fiction, and chess. I like to practice tennis,
  squash and football (soccer).




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